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                                                                              FES 03 ?01S
                                     January 31,2019                         ;.

Via Email                                                                                     .,^^4


YouTube, LLC
Attn: Copyright Operations/ DMCA Complaints
901 Cherry Ave
San Bruno, CA 94066
Phone: 650-214-3010
Email: copyright@youtube.com

        RE:    NOTIFICA TION OF COPYRIGHT INFRINGEMENT
                (Pursuant to 17 U.S.C. § 512)

To whom it may concern:

         I represent Shogakukan Inc., a Japanese corporation (hereinafter called
"Shogakukan"), the representative of the two individual authors of the copyrighted works
identified under the column entitled "Original Work" in Exhibit A attached to this notice
("Exhibit A").

         It has recently come to Shogakukan's attention that certain users of your services
have unlawfully published and posted certain contents on your website located at
www.youtube.com, more specifically identified under the column entitled "Infringing
Work" in Exhibit A (referred to as the "Infringing Work"), corresponding to each of the
Original Work identified in Exhibit A.

         Shogakukan has a good faith belief that the Infringing Work is not authorized by
the copyright owner, its agent, or the law.

         We demand that you immediately disable access to the Infringing Work and cease
any use, reproduction, and distribution of the Original Work. Specifically, we request that
you remove or disable the Infringing Work from www.youtube.com and/or any of your
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